                                                   Case 8:12-cv-01994-DOC-JCG                    Document 103      Filed 02/02/15   Page 1 of 2 Page ID
                                                                                                       #:906
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                                                     1   ROBERTS & KEHAGIARAS LLP
                                                         CAMERON W. ROBERTS, ESQ. (State Bar No. 176682)
                                                     2   cwr@tradeandcargo.com
                                                         THEODORE H. ADKINSON, ESQ. (State Bar No. 167350)
                                                     3   tha@tradeandcargo.com
                                                         1 World Trade Center, Suite 2350
                                                     4   Long Beach, CA 90831
                                                         Telephone: (310) 642-9800
                                                     5   Facsimile: (310) 868-2923
                                                     6   Attorneys for plaintiffs
                                                         DAVID PARKER and BIG BIRD HOLDINGS, LLC
                                                     7
                                                     8                                       UNITED STATES DISTRICT COURT
                                                     9                 CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
                                                    10
                                                    11   DAVID PARKER and BIG BIRD       ) Case No. SACV12-1994 DOC(ANx)
ROBERTS & KEHAGIARAS LLP




                                                         HOLDINGS, LLC,                  )
                                                    12                                   ) [PROPOSED]
                                                                                           XXXXXXXX JUDGMENT
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                                                                   Plaintiffs,           )
                                                    13                                   ) Trial Date:       12/16/2014
                                                              vs.                        )
                                                    14                                   ) Complaint Filed: 11/14/2012
                                                         ALEXANDER MARINE CO., LTD,      )
                                                    15   OCEAN ALEXANDER MARINE CENTER, ) Judge:      Hon. David O. Carter
                                                         INC., OCEAN ALEXANDER SERVICES, )
                                                    16   L.L.C., and OCEAN ALEXANDER     )
                                                         MARINE YACHT SALES, INC.        )
                                                    17                                   )
                                                                        Defendant.       )
                                                    18                                   )
                                                    19
                                                    20             After trial in this matter, the jury returned a general
                                                    21   verdict having been entered against defendants Alexander Marine
                                                    22   Co., Ltd., and Ocean Alexander Marine Yacht Sales, Inc., and in
                                                    23   favor of plaintiffs David Parker and Big Bird Holdings LLC in
                                                    24   the amount of $1,549,551.60 in damages and $2,375,000 in civil
                                                    25   penalties under the California Song-Beverly Act.
                                                    26             Accordingly, judgment is hereby entered against defendants
                                                    27   Ocean Alexander Marine Yacht Sales, Inc. and Alexander Marine
                                                    28   Co., Ltd., jointly and severally, as follows:

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                                                                                                                                      [PROPOSED]
                                                                                                                                      XXXXXXX JUDGMENT
                                                   Case 8:12-cv-01994-DOC-JCG                    Document 103       Filed 02/02/15    Page 2 of 2 Page ID
                                                                                                       #:907



                                                     1
                                                     2             Damages:                                                          $1,549,551.60
                                                     3             Prejudgment                       interest
                                                     4                  (based upon two years
                                                     5                  at         the           prevailing
                                                     6                  interest                rate           in
                                                     7                  December,                          2014,
                                                     8                  pursuant to 28 U.S.C.
                                                     9                 §1961 at .21%):                                                   $6,508.11
                                                    10             Civil Penalty:                                                    $2,375,000.00
                                                    11                                                                               ______________
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                                                    12             Total Judgment:                                                   $3,931,059.71
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                                                    13
                                                    14             IT IS SO ORDERED.
                                                    15
                                                    16   DATED:               February 2
                                                                             ______________, 2015
                                                    17
                                                    18                                                                __________________________
                                                                                                                         Hon. David O. Carter
                                                    19                                                                   U.S. District Judge
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                                                                                                                                        XXXXXXX JUDGMENT
                                                                                                                                        [PROPOSED]
